124 U.S. 123
    8 S.Ct. 398
    31 L.Ed. 352
    GLENNv.FANT.
    January 9, 1888.
    
      Chas. Marshall, Henry Wise Garnett, and Conway Robinson, Jr., for the motion.
      M. F. Morris, contra.
      WAITE, C. J.
    
    
      1
      This motion is denied. While the stipulation binds the parties to submit the cause without oral argument, there is nothing which requires this to be done at any particular time. Its terms will be fulfilled if the submission is made when the case is reached in its order. As no reference is made to rule 20, we cannot apply that rule to the case on the suggestion of one of the parties against the protest of the other.
    
    